Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 1 of 7 PageID: 1



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


LD MANAGEMENT                  LLC    and    MICHAEL          Case No.:
LUKACS

                 Plaintiffs,
                                                                            Civil Action
v.

MARQUE STAR HOLDINGS, LLC (d/b/a
MARQUE STAR), GREGORY STENSTORM,                                  COMPLAINT TO ENFORCE
DARRYL GAEMAN, PATRICK STENSTROM,                                   FINAL STATE COURT
GREGG GARNICK,
                                                                        JUDGMENT
                 Defendants.


        Plaintiffs, by their attorney Jay J. Rice of Nagel Rice, LLP, brings this Complaint to

Enforce Final State Court Judgments against Defendants Marque Star Holdings, LLC (d/b/a

Marque Star), Gregory Stenstrom, Darryl Gaeman, Patrick Stenstrom, Gregg Garnick and

alleges as follows:

        1.       This action is brought for recognition and entry in this Court, in accordance with

the Full Faith and Credit Clause of the United States Constitution and the Full Faith and Credit

Act, 28 U.S.C. § 1738, of the amended money Judgment of the Superior Court of New Jersey,

Law Division, Bergen County, in LD Management LLC and Michael Lukacs vs. Marque Star

Holdings, LLC, et. al, rendered by that Court on September 12, 2022.

        2.       This Court has jurisdiction of this matter pursuant to 28 U.S.C. § 1331 since Plaintiff

seeks enforcement of a money Judgment rendered in New Jersey State Court pursuant to the Full

Faith and Credit Clause, U.S. Const. art. IV, § 1.

        3.       Venue is proper in this District because the Default Final Judgment Plaintiff seeks to

enforce pursuant to the Full Faith and Credit Act, 28 U.S.C. § 1738 was entered in the Superior Court

of New Jersey.
 Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 2 of 7 PageID: 2



                                          THE PARTIES

       4.     Plaintiff, LD Management, LLC. is a New Jersey limited liability company with its

primary place of business located at 275 Indian Trail, Franklin Lakes, New Jersey.

       5.     Michael Lukacs is the managing member of LD Management, LLC, and resides at

275 Indian Trail, Franklin Lakes, New Jersey.

       6.     Defendant Marque Star Holdings, LLC (d/b/a/ Marque Star) (“Marque Star”) has

a principal place of business located at 1541 Farmers Lane, in Glen Mills, PA, 19342.

       7.     Defendant Gregory Stenstrom is the Chief Executive Officer of Marque Star and

has its principal place of business located at 1541 Farmers Lane, Glen Mills, PA, 19342.

       8.     Defendant Darryl Gaeman is the Chief Information Officer of Marque Star and

has its principal place of business located at 420 Tall Oaks Drive, Warminster, PA, 18974.

       9.     Defendant Patrick Stenstrom is the Director of Operations of Marque Star and

has its principal place of business located at 1541 Farmers Lane, Glenn Mills, PA 19342.

       10.    Defendant Gregg W. Garnick is an adbvisor to Marque Star and a member of

Marque Star’s advisory board. Garnick has principal addresses of 7701 Atlantic Ave, Apt

20EW, Margate City, NJ 08402 and 223 N. Woodleigh Dr., Cherry Hill, NJ 08003.



                                      CAUSE OF ACTION

       11.    On June 30, 2022, the Superior Court of New Jersey, Law Division, Bergen County,

entered default final judgment in favor of the Plaintiffs against Defendants Marque Star Holdings,

LLC and Gregory Stenstrom (“The Debtors”) (Transaction ID: LCV20222436953). On September

12, 2022, following a proof hearing, judgment was entered in favor of the defendant in the total

amount of $5,953,389.56. A copy of the Judgment awarding $5,953,389.56 is attached hereto as

Exhibit 1. At the proof hearing, the Court found, inter alia:
 Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 3 of 7 PageID: 3



               a) The Debtors failed to answer or enter an appearance and final judgment by

                   default was entered; and

               b) Damages were proven and entered in the total amount of $5,953,389.56.

       12.     The Debtors were served with the default final judgement as entered by the Superior

Court of New Jersey, Law Division, Bergen County.

       13.     The Deputy Court Clerk of the Superior Court of New Jersey, Bergen County, the

same being a Court of Record, certified the authenticity of the Order for Judgement and said

certification is attached herein along with the Judgement as Exhibit 1 as required pursuant to the Full

Faith and Credit Act, 28 U.S.C. § 1738.

       14.     The Judgment is entitled to recognition in this Court pursuant to the Full Faith and

Credit Clause of the United States Constitution, and the Full Faith and Credit Act, 28 U.S.C. § 1738.

       WHEREFORE, Plaintiff requests that this Court recognize the Final Judgment and enter a

judgment of this Court against the Defendants in the amount of $5,953,389.56 in accordance with the

Superior Court of New Jersey’s computation attached as Exhibit 1.



                                                       NAGEL RICE, LLP
                                                       Attorney for Plaintiffs LD Management LLC
                                                       and Michael Lukacs

                                                       By: /s/ Jay J. Rice
Dated: December 8, 2023                                JAY J. RICE, ESQ.
Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 4 of 7 PageID: 4




                     EXHIBIT 1
Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 5 of 7 PageID: 5
Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 6 of 7 PageID: 6
Case 2:23-cv-23158-MEF-AME Document 1 Filed 12/18/23 Page 7 of 7 PageID: 7
